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4                          UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                No. 2:15-cr-125-GEB
8                  Plaintiff,
9          v.                                 ORDER DENYING DEFENDANT’S MOTION
                                              TO DISMISS THE INDICTMENT UNDER
10   BENJAMIN MACIAS,                         THE SPEEDY TRIAL ACT
11                 Defendant.
12

13         Defendant    Benjamin     Macias     moves   for     dismissal    of   the

14   Indictment with prejudice, arguing that the 70-day time limit

15   within which his trial was required to commence under the Speedy

16   Trial Act (the “Act”) has expired.            Motion to Dismiss (“Mot.”),

17   ECF No. 143.       The United States of America (“the government”)

18   opposes the motion, contending that seventeen days remain before

19   the trial must commence under the Act.             Opp’n to Mot. (“Opp’n”)

20   at   3:23,   ECF   No.   160.      Defendant       filed    a   reply   to   the

21   government’s opposition on October 22, 2018, in which he also

22   argues his trial was improperly delayed under the Act’s 70-days’

23   time limit for commencement of trial because of delays requested

24   by his co-defendant so he could engage in plea negotiations with

25   the government.      Reply to Opp’n (“Reply”) at 5:1-3,5:17-20, ECF

26   No. 169.

27         Defendant argues his right to a speedy trial was violated

28   under the Act when judges improperly excluded time from the 70-
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1    day    commencement    period   based    on   unsupported    “reasons    for

2    [judicial] finding[s]” concluding that time could be excluded

3    from   the   computation   of   the   Act’s   trial   commencement   period.

4    Specifically,     Defendant     argues    this    occurred    when    judges

5    referenced local codes and stipulations in orders authorizing

6    exclusions of time; and thereby “failed to set forth the mandated

7    ‘ends of justice’ finding required by § 3161(h)(7)(A).”              Mot. at

8    6:22-23. The government counters Defendant is incorrect, arguing:

9                 Under Ninth Circuit case law, a district
                  court meets [the exclusion] requirement with
10                “discussion of the statutory factors” that
                  the [judges] considered to support [the
11                challenged exclusions of time from the Act’s
                  70-days trial commencement period]. United
12                States v. Medina, 524 F.3d 974, 986 (9th Cir.
                  2008). “[C]ourts may fulfill their Speedy
13                Trial   Act    responsibilities by   adopting
                  stipulated factual findings which establish
14                valid    bases     for   Speedy  Trial    Act
                  continuances.” Id. (quoting United States v.
15                Ramirez-Cortez, 213 F.3d 1149, 1157 n.9 (9th
                  Cir. 2000)).
16
            Opp’n at 4:19-24.    Contrary to what Defendant argues, as the
17
     Ninth Circuit states in United States v. Head, 700 F. App’x. 612,
18
     613–14 (9th Cir. 2017), cert. denied, 138 S. Ct. 1175 (2018):
19
                  The Speedy Trial Act does not require a
20                district court to make an explicit “ends of
                  justice” finding; instead, it requires that
21                the trial court set forth in the record its
                  “reasons for finding that the ends of justice
22                served by the granting of [a] continuance
                  outweigh the best interests of the public and
23                the defendant in a speedy trial.” 18 U.S.C. §
                  3161(h)(7)(A) (emphasis added).       Section
24                3161(h)(7)(B) provides factors that a judge
                  must consider in deciding whether to grant an
25                “ends of justice” continuance.   The code at
                  issue here corresponds to those factors, and
26                referring to that code therefore provides the
                  reason why the district court found that the
27                ends of justice were served by granting a
                  continuance.   See United States v. Medina,
28                524 F.3d 974, 986 (9th Cir. 2008) (explaining
                                        2
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1                 that a district court’s “discussion of the
                  statutory factors [wa]s adequate to support a
2                 continuance that serve[d] the ends of justice
                  ....”). Defendant[] do[es] not dispute that
3                 the   continuances   were   justified;   [he]
                  [previously] acknowledge[d] that . . .
4                 counsel needed time to prepare.

5                 Moreover, the code used by the district court
                  to explain its reasons for continuances was
6                 not non-specific or underinclusive in the
                  context of the record in this [case].    That
7                 various code provisions may be mutually
                  exclusive does not mean that the district
8                 court erred by relying on those provisions as
                  alternative holdings to justify granting a
9                 continuance.   And that Defendant[] may not
                  have intuitively understood the code is
10                irrelevant, as    [he was]    represented by
                  counsel and it is clear from the record that
11                [his] counsel understood the references to
                  the code.
12
           Defendant also argues he was prejudiced by continuances made
13
     before     his    co-defendant   changed      his    plea    on    June    17,   2016,
14
     contending that the government used these continuances to pursue
15
     a plea deal with his co-defendant.                   Reply at 5:1-3, 5:11-13.
16
     Defendant contends under reasoning in United States v. Hall, 181
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     F.3d 1057 (9th Cir. 1999), any continuance including the basis
18
     that his co-defendant was involved in plea negotiations is an
19
     improper reason for excluding time from the Act’s 70-day trial
20
     commencement period.       However, in Hall the primary purpose of the
21
     continuance at issue was to provide a co-defendant with time to
22
     procure a plea deal.       Id. at 1062–63.           That is not what occurred
23
     in this case.
24
           As    the    government    correctly     asserts       in   the     motion    sub
25
     judice,     the   co-defendant’s    change      of    plea    did    not    have   any
26
     bearing     on     Defendant’s     own       stipulations         requesting       time
27
     exclusions for defense counsel to prepare for the investigation
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                                              3
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1    and defense of Defendant’s case.                Opp’n at 6:16-7:12. Further,

2    the government cites Ninth Circuit cases supporting its position

3    that when a defendant stipulates to time for trial preparation

4    for his own benefit, as the Defendant did in this case, the

5    Defendant is precluded from later changing his mind. Id.                     The

6    Ninth Circuit states in United States v. Palomba, 31 F.3d 1456,

7    1462 (9th Cir. 1994):

8                Where a defendant stipulates to the need for
                 trial preparation, he “cannot maintain that
9                these continuances give rise to [a violation
                 of the Act].” Having made a fully-informed
10               choice to move for a continuance tolling the
                 clock, [the defendant is] precluded from
11               objecting that his right to a speedy trial
                 was violated.
12

13          (citations    omitted).         Here,     the     co-defendant’s      plea

14   negotiations were not the primary reason for the jointly-made

15   continuances as it was in Hall.              Rather, Macias stipulated to the

16   need for trial preparation, and he cannot now maintain that those

17   continuances constitute a violation of the Act. See Opp’n at Ex.

18   1 (detailing joint reasons for several continuances excluding

19   time under the Act).

20          The government further argues considering proper exclusions
21   of   time   under   the   Act,    at    least    seventeen   days   remain   for

22   commencement of trial.1          Opp’n at 3:23.        Defendant counters that

23   even if the government’s count is adopted (and the exclusions

24   were   correctly    decided),     the    government’s     count   is   incorrect

25   because it includes twenty non-excludable days, thus the trial

26   commencement deadline has been exceeded by three days.                 Reply at
27   1 The government argues “in an abundance of caution” it did not include
     additional time periods that could be excludable under § 3161(h)(1)(D), which
28   allows hearing of pretrial motions (Local Code E). Opp’n at 3:22-23.
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1    11:16-20.        Defendant         arrives   at    the    twenty-day          difference    by

2    arguing, in part, that the Act’s clock began on June 10, 2015,

3    the date the complaint was unsealed. Id. at 11:2-3.                             This is not

4    the date on which the Act’s trial commencement period began.

5          The Act prescribes that all criminal trials shall “commence

6    within seventy days from the filing date (and making public) of

7    the information or indictment, or from the date the defendant has

8    appeared before a judicial officer of the court in which such

9    charge is pending, whichever date last occurs.”                                18 U.S.C. §

10   3161(c)(1)(emphasis added).              Defendant was arraigned on June 24,

11   2015.       Min.      for    Arraignment,        ECF     No.    12.         Therefore,     his

12   arraignment          began   the    Speedy   Trial        Act       clock.      Defendant’s

13   argument that the commencement of the Act’s 70-day time limit

14   was     when    the     complaint      was   unsealed          on    June     10,   2015    is

15   incorrect.           Rather, the Act’s 70-day time period commenced on

16   June 24, 2015, when defendant was arraigned.

17         For      the    stated   reasons,      the    Act    has       not     been   violated.

18   Therefore, Defendant’s dismissal motion is denied.

19         Dated:         November 1, 2018

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